                                                                       Case 8:20-ap-01011-TA            Doc 40 Filed 05/04/21 Entered 05/04/21 15:26:37                            Desc
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                                                                   1     James K. T. Hunter (CA Bar No. 73369)
                                                                         PACHULSKI STANG ZIEHL & JONES LLP
                                                                   2     10100 Santa Monica Blvd., 13th Floor
                                                                   3     Los Angeles, CA 90067
                                                                         Telephone: 310/277-6910
                                                                   4     Facsimile: 310/201-0760
                                                                         E-mail:       jhunter@pszjlaw.com
                                                                   5
                                                                         Attorneys for Debtor and Debtor-in-Possession,
                                                                   6     Bridgemark Corporation
                                                                   7

                                                                   8
                                                                                                         UNITED STATES BANKRUPTCY COURT
                                                                   9
                                                                                                          CENTRAL DISTRICT OF CALIFORNIA
                                                                  10
                                                                                                                      SANTA ANA DIVISION
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12    In re:                                                       Case No.: 8:20-bk-10143-TA
                                        LOS ANGELES, CALIFORNIA




                                                                  13    BRIDGEMARK CORPORATION,1
                                           ATTORNEYS AT LAW




                                                                                                                                     Chapter 11
                                                                  14               Debtor and Debtor-in Possession.
                                                                  15

                                                                  16                                                                 Adv. Case No.: 8:20-ap-01011-TA
                                                                        BRIDGEMARK CORPORATION,
                                                                  17                                                                 STIPULATED DISMISSAL
                                                                                                   Plaintiff,
                                                                  18                                                                 [No Hearing Scheduled]
                                                                        vs.
                                                                  19
                                                                        PLACENTIA DEVELOPMENT COMPANY,
                                                                  20    LLC,

                                                                  21                               Defendant.

                                                                  22

                                                                  23              Pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii), made applicable to this adversary

                                                                  24     proceeding pursuant to Federal Rule of Bankruptcy Procedure 7041, Plaintiff and Defendant

                                                                  25     (collectively, the “Parties”) hereby stipulate to the voluntary dismissal, with prejudice, of the above-

                                                                  26     captioned adversary proceeding.

                                                                  27

                                                                  28     1
                                                                           The Debtor’s last four digits of its taxpayer identification number are (1669). The headquarters and service address for
                                                                         the above-captioned Debtor is 17671 Irvine Blvd., Suite 217, Tustin, CA 92780.

                                                                         DOCS_LA:337715.1 10804/002
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                                                                   1             The Parties shall bear their own attorneys’ fees and costs in connection with the above-

                                                                   2     captioned case and above-captioned bankruptcy case.

                                                                   3

                                                                   4                 4 2021
                                                                         Dated: May __,                               PACHULSKI STANG ZIEHL & JONES LLP
                                                                   5

                                                                   6                                                  By:       /s/ James K. T. Hunter
                                                                                                                                James K. T. Hunter
                                                                   7                                                            Attorneys for Debtor and Debtor-in-
                                                                                                                                Possession, Bridgemark Corporation
                                                                   8

                                                                   9                 4 2021
                                                                         Dated: May __,                               KTBS LAW LLP
                                                                  10

                                                                  11                                                  By:
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                                            Robert J. Pfister
                                                                                                                                Attorneys for Placentia Development
                                                                                                                                Company, LLC
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




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                                                     PROOF OF SERVICE OF
                                                      Main Document      DOCUMENT
                                                                       Page 3 of 4
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067


 A true and correct copy of the document entitled: STIPULATED DISMISSAL served in the manner stated below:


 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders
 and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) May 4, 2021, I
 checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are on
 the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                           Service information continued on attached page



 2. SERVED BY UNITED STATES MAIL:
 On (date), __________, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
 adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
 postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
 completed no later than 24 hours after the document is filed.




                                                                                           Service information continued on attached page



 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
 person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) __________, I served the following persons
 and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by
 facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
 overnight mail to, the judge will be completed no later than 24 hours after the document is filed.



                                                                                           Service information continued on attached page




 I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 5/4/2021                                 Mary de Leon                                             /s/ Mary de Leon
  Date                                    Printed Name                                               Signature




               This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
 June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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            Case 8:20-ap-01011-TA
                           Doc 40 Filed 05/04/21 Entered 05/04/21 15:26:37                                                               Desc
                            Main Document     Page 4 of 4
ADDITIONAL SERVICE INFORMATION: Adv. Case No.: 8:20-ap-01011-TA
1.       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

        Erin E Gray egray@pszjlaw.com
        James KT Hunter jhunter@pszjlaw.com
        Samuel M Kidder skidder@ktbslaw.com
        William N Lobel wlobel@tocounsel.com, jokeefe@tocounsel.com;sschuster@tocounsel.com
        Robert J Pfister rpfister@ktbslaw.com
        United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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